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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NEW YORK

Damion G.V Davis

Petitioner pro-se

V.

Akima Global Services (AGS)
Malony, AGS Lieutenant
Glennon, AGS Lieutenant
Gelinski, AGS Lieutenant
Walker, AGS Lieutenant
Dysart, AGS Lieutenant
Faatz, AGS Security Officer
A. Johnson, AGS Security Officer
John Doe #1

Jonh Doe #2

John Doe #3

Wendy, Nurse

PA. Mike

BFDF Medical Dept.

Defendants et, al.

COMPLAINT

COVER PAGE

Cases No.

JURY TRIAL-DEMANED

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INTRODUCTION

1. Plaintiff Damion Davis or ("Mr. Davis"), person being detained by the
United States immigration and Customs Enforcement ("ICE"), bring this action for
damages pursuant to 48 U.S.C. § 1983, against various lieutenants and security
officers who are employed by Akima Global Services or ("AGS") and the Buffalo
Federal Detention Facility or ("BFDF") and their Medical Department, for
depriving him of his rights that is guaranteed by the First and Fourteenth
Amendment of the United States Constitution and New York law.

2. While Mr. Davis was detained in Buffalo Federal Detention Facility
(BFDF) multiple assaults transpired from the officers and inmates, while on the
unit B1 Mr. Davis was attacked by MS-13 Gang Members, which broke his oval
left eye socket, while the officer did nothing to stop the assault, Mr. Davis was
later sent to the hospital five days after the assault to have a surgery to replace the
left skull with a Titanium Metal Implant, to make sure that his left eye ball would
not fall forward or backward into is skull.

3. Two months after that assault another inmate entered Mr. Davis cell with
a jail made knife and tried to take his life, again the AGS officer on the unit did
nothing to stop the assault from happening, Mr. Davis suffered from a concussion

and had his hair pulled out because of that encounter.

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4, Following that assault, twelve officers and two lieutenant came on the unit Al
where Mr. Davis was being housed and tried to extract Mr. Davis by force,
dislocating Mr. Davis left shoulder and fracturing his bottom left rib, right after
that incident while coming back from a medical trip, officers surrounded the
transport vehicle and took Mr. Davis to the segregated housing unit ("SHU"), and
assaulted him, and because of that encounter Mr. Davis suffered from a closed rib
fracture to the upper left side of his body and a concussion, Mr. Davis was
assaulted while he still had one cuff on his right wrist, backed in the corner out of
the cameras view.

5. Medical personnel observed Mr. Davis while he was unconscious, saw
vomit on the floor and left Mr. Davis laying there close to two hours, Mr. Davis
woke up spiting blood into the toilet, ask the officer on duty to call medical and
his request was ignored.

6. As a result from those assault, Mr. Davis now have a Titanium Plate
inside of his left side of his face to replace the broken bones, and an abnormality
on the left side of his brain, a stroke that took place after the surgery, a "MIR"
which is a miner heart attack, high blood pressure, and a permanent migraine.

7. Mr. Davis filed several grievances, a federal tort claim ("FTCA"), a civil

right and civil liberty complaints, he also reported to the facility ("OIDO") office,

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the office of inspector general ("OIG"), and the ICE intake center. Mr. Davis filed
complaints in all theses sectors, relating to all of theses incidents and the BFDF
staff retaliated against him for speaking up by putting him in solitary confinement
for 73 days. Mr. Davis went on a huger strike for all of the injustice that he had
suffered. The BFDF seeking to deter him from holding the accountable for
violating his rights, has not come down to talk to him about any of his grievances
that he as sent to the lieutenants offices.

8. Still traumatized by these events, and still experiencing their physical
effects, Mr. Davis brings this action to vindicate his rights, hold the perpetrators

accountable, and obtain compensation for his injuries.

JURISDICTION AND VENUE

9. Plaintiff brings this action pursuant to 42 U.S.C. § 1983. The court

therefore, has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3)-(4).

1. (FTCA), Federal Tort Claim Act
2. (CRCL), Civil Rights and Civil Liberty
3. (OIDO). Office of the Immigration Detention Ombudsman

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10. The court has supplemental jurisdiction under 28 U.S.C. § 1391(b)(2),
because the events and omissions giving rise to the claims occurred in the Buffalo
Federal Detention Facility, New York, which is in the Western District of New

York.

PARTIES

11. Plaintiff Damion Davis is a Forty-Five- Year-Old Black Man who, at the
age of eleven moved to the United States from Jamaica to be with his citizen
father. He has been detained by ICE since October 17, 2019, and is being held in
the BFDF as an immigration detainee since May of 2022 until present.

12. Defendant Akima Global Services or (AGS) is employed by the
Department of Homeland Security (DHS) and is at all times relevant to this case.

13. Defendant Maloney is employed at the BFDF as an officer during all
times relevant to this case and holds the rank of lieutenant.

14. Defendant Glennon is employed at the BFDF as an officer during all
times of this case and holds the rank of lieutenant.

15. Defendant Gelinski is employed at the BFDF as an officer during all

time relevant to this case and holds the rank of lieutenant.

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16. Defendant Walker is employed at the BFDF as an officer during all
times relevant to this case and holds the rank of lieutenant.

17. Defendant Dysart is employed at the BFDF as an office during all times
relevant to this case and holds the rank of lieutenant.

18. Defendant Faatz is employed at the BFDF as on officer during all times
relevant to this case an holds the rank of security officer.

19. Defendant A. Johnson is employed at the BFDF as an officer during all
times relevant to this case and holds the rank of security officer.

20. Defendant John Doe #1 is employed at the BFDF as an officer during all
times relevant to this case and holds the rank of lieutenant.

21. Defendant John Doe #2 is employed at the BFDF as an officer during
all time relevant to this case and holds the rank of security officer.

22. Defendant John Doe #3 is employed at the BFDF as an officer during all
times relevant to this case and holds the rank of Security officer.

23. Defendant Wendy works at the BFDF as a nurse during all times
relevant to this case, and upon information and belief, she is employed by the
BFDF medical staff, she is licensed by the State of New York as a registered

hurse.

4. Plaintiff does not know the first names of any of the defendants, or the first and last names of
the John Doe's

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24. Defendant Mike works at the BFDF as a practitioner's assistance ("PA")
during all times relevant to this case, and upon information and belief, he is
employed by the BFDF medical staff, he is licensed by the State of New York as a
nurse practitioner's assistance.

25. Defendant Buffalo Federal Detention Facility Medical Dept. which has a
principal place of business in Buffalo New York, is at all times relevant to this
case, they holds a contract with the Department of Homeland Security, to provide
medical and metal health services to people who are being detained by ICE at the
BFDF.

26. All non-corporate defendants are being sued in their individual

capacities.

STATEMENT OF FACTS
Events proceeding to the assault and defendants use of force.

27. Mr. Davis is incarcerated at the BFDF as an immigration detainee from
May of 2022.
28. On September 22, 2023, Mr. Davis was assaulted on the unit B1 by MS-

13 gang members, where in the middle of that unit and in every unit in BFDF as a

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bubble by the entrance of the units and a staff station in the middle of the each
unit.

29. The AGS officer on duty in Mr. Davis unit subsequently ignored the
large group gathering in front of the cell where Mr. Davis was being attacked by
the MS-13 Gang Members, he also ignored the 225 lbs give or take a couple
ounces, inmate running up the stairs into the cell and slamming the cell door
behind him.

30. The officer on the unit on that day in question saw Mr. Davis go in the
cell and did not come out even after multiple inmates came out.

31. Mr Davis was found unconscious in the cell by one of the other inmate
that was a close friend to Mr. Davis. When he step in the cell, he saw Mr. Davis on
the ground with blood everywhere, after he woke Mr. Davis up, Mr. Davis was
unable to open his eyes, he took his shirt wrap it around Mr. Davis face to try and
stop the bleeding, Mr. Davis walked down stairs and went into his cell, Mr. Davis
States that all of his happened between the hours of 11:30am to around or a little
after 2pm.

32. On September 26, 2023, BFDF sent Mr. Davis to the UR Medicine
Strong Memorial Hospital to get checked out, the Doctors at the hospital diagnose

Mr. Davis with having a oval floor and roof fracture to his left eye socket, which

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needed to be repaired immediately in order to save his left eye from falling front
or backwards into his head.

33. On September 27, 2023, Mr. Davis had the surgery in order to prevent
any further damages by replacing the broken bones with a Titanium Metal
Implant, an hour after the surgery Mr. Davis was transported back to the facility,
by the AGS escorts, ignoring the advice of the surgical doctor recommendation
that he be monitored by the hospital for at least a day to make sure that his body
does not reject the implant.

34. On October 3, 2023, just one week after the surgery Mr. Davis had to go
back to UR Medicine Strong Memorial Hospital because of an eye infection,
which happened after the surgery, because of his body rejection the implant, that is
what the surgical doctor tried to avoid, and the warning that he give BFDF when
recommend that Mr. Davis be monitored by the hospital for at least a day, to make
sure that the Titanium would be accepted by Mr. Davis body without any
complications, a request that was ignored by the BFDF.

35. On November 16, 2023, just two months after the surgery and a month
after his eye infection, while still recuperating from all these events, another
inmate entered Mr. Davis cell with a jail made knife and tried to hurt Mr. Davis,

Mr. Davis while still healing from the first event had to fight for his life. Mr.

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Davis manages to take the knife out of the assailant hands and: threw it under the
bed and fought him off.

36. A couple minutes went by and Mr. Davis collapse on the ground, the
AGS security officer on the unit at that time saw Mr. Davis on the ground with the
cell rip to pieces and did not call for back up or emergency assistance, Mr. Davis
suffered from an concussion, because of the encounter, this event happened
between the hours of 10:55pm to or around 3am on the 16th until the early
morning of the 17th, November 2023.

37. Mr. Davis ask the officer to call the lieutenant on duty at that time and
his request was ignored., while Mr. Davis was throwing up into the sink an alert
was call to the unit, someone was overdosing on K'2, lieutenant Maloney showed
up with other officer and the BFDF medical staff. Mr. Davis called over the
lieutenant showed him the vomit in the sink and his hair that was pulled out doing
his fight.

38. Lieutenant Maloney, pulled Mr. Davis from B1 and placed him in unit
Al, lieutenant Maloney told Mr. Davis that he would be investigating the incident.
Two weeks later Mr. Davis saw the Lieutenant walking in the hallway, the
lieutenant looked at Mr. Davis and started laughing, the lieutenant did nothing,

although Mr. Davis told him that he wanted to press charges on that

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inmate for assaulting him and trying to take his life. Mr. Davis wrote more
grievances about all the attacks and took it to the highest level, but still no one
came to talk to him.

39. On December 2, 2023, on the two year anniversary of what they did to
Mr. Davis at the Pike County Facility in Pike County Pennsylvania, they did to
him here a the BFDF. On December 2, 2023, between the hours of 7:30am unit
3:30pm on unit Al. Mr. Davis had an issue with another inmate about a tablet that
his group was using, a next inmate kept taken the tablet from Mr. Davis group. Mr.
Davis addressed the situation to the unit officer with another inmate, the unit
officer refused to say or do anything about it, Mr. Davis group were all Black
Men, who is being detained by ICE at the BFDF.

40. On that day the 2nd of December 2023, Mr. Davis and the group of guys
went up to the officer and ask where is the tablet that they all use, another inmate
on the unit stated you know where it is. Mr. Davis went back to the officer and ask
him why did he give cell 137 the tablet that is group was using, he told the officer
that the same thing had happened yesterday and the lieutenant Ireland came and

gave cell 137 and his group a bran new tablet, so there would stop taking there's,

5. k'2 is a syntactic drug that is spayed on a piece of paper and sent into the jails all around the
world for the inmates to smoke.
6. Mr. Davis do not know the name of the person in cell #137

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he told the officer that five people have to share that one tablet.

41. the officer heard cell 137 call Mr. Davis and his group a Nigger and did
nothing. Mr. Davis went over to 137 to have a word with him, cell 137 run over
and slammed is door shout. Mr. Davis ask cell 137 why would you take the tablet
that his group be using when you have your own, 137 told Mr. Davis to get out of
my face Nigger. Mr. Davis went back over to the officer desk to talk to the officer
and informing what was being said, the officer smiled at Mr. Davis and said that
he did not hear anyhing. Mr. Davis walked back over to the inmate and ask him to
please not call him that word. Mr Davis decided to go into his cell, Cell 116 and
heard cell 137 say that's right Nigger go to your room. Mr. Davis walked back to
the officer and ask him if he heard that?

The officer told Mr. Davis to remove himself from his station, Mr. Davis then
went back into his cell and closed the door.

42. The AGS officer walked over to Mr. Davis cell and called for back up.
12 escorts arrived to remove Mr. Davis from the unit and by doing so dislocated
his left shoulder and Fractured/Broke his lower left side Rib Cage. Mr. Davis was
taken to the Rochester Urgent Care Medical Center, where the Doctor pop back
his shoulder in place and told Mr. Davis that they could not do about anything

about his rib because if they wrap it, it could puncher his lungs.

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43. On the way back from the hospital, Mr. Davis ask if he could call his
attorney when they got back to the facility, one of the officer told Mr. Davis sure,
but he needs to run it by the lieutenant first. After Mr. Davis entered the facility
through the processing entrance, Mr . Davis again ask if he can make a phone call
to his attorney, the AGS officer told him that he will call the lieutenant and ask if
it was ok.

44. The lieutenant came in and told Mr. Davis no he can not call his
attorney, Mr Davis ask why, when it's my right to do so. another lieutenant came
in , lieutenant Gelinski, and told Mr. Davis to strip out, Mr. Davis again said that
he have the right to his attorney, Mr. Davis also told them that he did not feel safe
anymore at this facility. The lieutenant call for back up and 16 other officers
arrived, lieutenant Gelinski look at Mr. Davis and said "if you want you can sue
me too and make sure you spell my name right", he then told the officers " Get
Him", they all jumped on Mr. Davis and assaulted him again twice in the same day
even after they all knew he just came back from the Hospital and had his shoulder
put back into place and also suffered from a fractured rib.

45. On March 8, 2024, Mr. Davis had a medical trip to go see an
neurologist, because after noticing that his left eye ball was sinking into his skull,

he started to get these serious migraines that does not go away, on the way to see

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Doctor Stackhouse. Mr. Davis told one of the officer that today was the 7th year
anniversary of his daughter passing and stated that he just want to be left alone and
grieve for his loss, one of the officer told Mr. Davis that he was sorry, and the
other officer John Doe #2 turned around and ask Mr. Davis if that was a threat.
Mr. Davis said no and explained that the only reason why he stated that was
because his daughter died because of the police, who made his 7 months and 28
days pregnant wife run, he then told the officer that he lost. his daughter to a
Placenta Eruption because of his wife running.

46. While at his appointed visit with Doctor Stackhouse, officer John Doe #
2 showed the other officer a picture of two white man beating on a black man, the
other officer looked at officer John Doe #2 with disgust, when the officer John
Doe #2 pulled his phone back Mr. Davis saw the picture, so:he ask the officer
John Doe #2 what was wrong with him and if he thought that was ok, the officer
John Doe #2 told Mr. Davis that they were leaving, Mr. Davis again ask the office
John Doe #2 if he got that gold star badge on his shirt for beating up on black
people.

47. Doctor Stackhouse came into her office and told Mr. Davis about his
MRI scan and what she found in that scan, she told Mr. Davis that he have an

Abnormality on his left side of his brain and ask Mr. Davis about all the

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concussions that he ever had in his life. Mr. Davis told her that the first time he got

knocked out was 7 years ago by the police who assaulted him and cause the death
of his daughter and that they took an MRI scan at the Carlisle Regional Hospital
and he was fine, he then went on to tell her about the other times he was
unconscious was at the BFDF, when he got assaulted by the inmates and the
officers, the officer John Doe #2 went out of the office and made a phone call to
the facility and told lieutenant Dysart, what Mr. Davis said to Doctor Stackhouse
about the concussion he got in the facility.

48. On the way back from his appointment with Doctor Stackhouse, Mr.
Davis notice that they was entering through the garage and there were officers
waiting for Mr. Davis, they took Mr. Davis out of the transport vehicle and took
his shackles off his feet, then told Mr. Davis that he was going to the SHU, Mr.
Davis ask lieutenant Dysart what did he do, the lieutenant in return stated to Mr.
Davis that you talk too much.

49, When they got to the SHU block they brought Mr. Davis to cell 127
away from any Camera site of view John Doe #3 pushed Mr. Davis into the corner
of the cell, took the cuff off Mr. Davis left wrist, officer Faatz pulled Mr. Davis
left arm back causing a sharp pain to shoot up into Mr. Davis shoulder and before

Mr. Davis could say a word he got punch in the left side of his face, then they

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throw Mr. Davis on the bed and punch him again, bursting Mr. Davis's lip open,
then they got up off Mr. Davis and exit the cell.

50. Mr. Davis got up feeling Dizzy and light headed, Mr. Davis walked over
to the intercom system and ask the bubble for medical assistance, the officer in the
bubble responded by saying that he would pass the messages along. Mr. Davis
tried to walk back over to the bed and passed out on the cell floor. Mr. Davis woke
up about an hour or two later, Mr. Davis saw that there was vomit on the floor, he
looked in the mirror and saw that the left side of his face where he had the surgery
was swollen and he had blood flowing from his mouth.

51. Mr. Davis banged on the cell door for assistance, and.officer A. Johnson
came over to his cell, she could clearly see that Mr. Davis was seriously injured,
but still ask him what did he need, Mr. Davis ask her to call medical which she
responded by saying to Mr. Davis medical was already here, Mr. Davis ask officer
Johnson why didn't they do anything, the officer stated that they thought he was
sleeping on the ground, Mr Davis ask officer Johnson why didn't no one come in,
to check to see if he was still alive, the officer in returned said that they knew he
was not dead because from that little window in the cell door, they can see his
chest moving, Mr Davis said that was a lie, because there was vomit and blood on

the floor, he then ask her again to call medical and the lieutenant, so they could

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take a picture of the cell room and his face. Officer look at Mr. Davis and said no
then walked away.

52. The following morning lieutenant Walker came to Mr. Davis cell and
told Mr. Davis about his write up and the charges that they gave him, lieutenant
Walker then ask Mr. Davis for his side of the story. Mr. Davis told him word for
word what happened, after Mr. Davis was finish lieutenant Walker walked away.
Later that day Mr. Davis received the write up and was giving 13 days. Mr Davis
appealed that decision.

53. The next day Mr. Davis got his appeal back denying of a proper
investigation, of the event that took place and the assault on him by the officers.

54. On March 10, 2024, around or a little after 2pm. Lieutenant Glennon
came over to Mr. Davis cell and told him that he had another write up, in this write
up it stated that Mr. Davis had punch officer Faatz in the face and kick another
officer, Mr. Davis ask lieutenant Glennon how could that be possible when he was
cuffed. The next day on March H, 2024, lieutenant Glennon and another
lieutenant John Doe #1, came to Mr. Davis cell with another write up in this write
it stated that Mr. Davis punch officer Faatz and kick him and punch John Doe #3
and kick him also. Mr. Davis again ask how was that possible when he was hand

cuffed, they both laughed and then walked away. Mr Davis got 60 days on top of

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the 13 days bring it to a total of 73 days in shu for something that he clearly did
not do. Mr Davis also appealed that decision and it also got denied.

55. Mr Davis had to go out to the Emergency Room, because he was not
eating or drinking, when they took a CT scan of Mr. Davis they found that one of
the reason why Mr. Davis was in so much pain, was because one of his ribs was
Fractured/Broken, as a result of the assault on him by the officers.

56. Mr. Davis told the lieutenant in his grievance and in his appeal that he
would like to press charges on officer Faatz and John Doe #3 for the assault on
him that lead to all the injuries he sustained on March 8, 2024. Mr Davis
grievances never came back to him, they all was ignored.

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DEFENDANTS PUNISH MR. DAVIS
And The Events Was Never Properly

Investigated.

57. As it was Stated above, Mr. Davis was hit in his face twice by officer
Faatz in shu cell 127 after coming back from seeing the neurologist and finding
out about his brain injuries which was caused by the attack on him while in BFDF,
by the MS-13 Gang Members on September 22, 2023. The events on the 16th of

November, 2023, on unit Bl when an inmate tried to end Mr. Davis life, the event

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on December 2nd, 2023, by the 12 and 16 officers while and unit Al,

and the event on March 8th, 2024, by the two officers and they lieutenant. Any of
these events could have been the reason for Mr. Davis Abnormality and his
Hematoma. Because each of these events gave Mr. Davis a concussion.

58. And all of these events where Mr. Davis had suffered from a blow to the
skull was all ignored, none of these events was even properly investigated by
AGS, the Deportation Officer Mr. Brant or the BFDF.

59. On one of these events Mr. Davis was hand cuffed and beating in a cell
and left for dead, no medical, no lieutenant or even an officer came to aid of Mr.
Davis while he laid on the floor unconscious for over an hour.

60. Mr. Davis was hit so hard in the head that on multiple times suffered
from a serious concussions and broken bones, that needed to be replace with a
Titanium Metal Implant.

61. Although Mr. Davis did not physically resist the officers he continued to
ask where he was being taken, and as soon as they got to the shu cell 127, they hit
him so hard that he lost conciseness, woke up an hour or two later to vomit all
over the cell, with blood in his mouth, on the floor and in the toilet, with a swollen

left eye and a broken rib.

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62. Lieutenant Dysart was present while his officers was assaulting Mr.
Davis, he saw when officer Faatz hit Mr. Davis in the left side of his face twice,
throw him on the bed and watch while John Doe # 3 pined him down.

63. All of the lieutenant at the BFDF were all aware of the on going
improper conduct of their fellow officers, but did nothing to intervene to prevent
the on going use of excessive force against Mr. Davis, they all knew about the

injuries that Mr. Davis sustained by the inmates and again did nothing.

DEFENDANTS EXCESSIVE FORCE
Against Mr. Davis

64. Mr. Davis pointed out that he was hit twice in the face by officer Faatz
and was held down by John Doe #3.

65. Mr. Davis who was hand cuffed, would have not been able to throw one
punch much less two punches, but they claimed he assaulted them, the same
officers who attacked him, not one but multiple officers were in the shu cell #127.
Mr. Davis posed no threat to anyone much less these officers while he was out

numbered.

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66. On December 2, 2023, while Mr. Davis was on unit Al, 12 officers went
into his cell, cell #116 to extract Mr. Davis and again for no reason to bring him to
the shu, how did that served as a legitimate purpose, that whole event on that day
and time was unjustified.

67. On that same day December 2, 2023, after coming back from the
hospital, after getting his left shoulder put back into place and finding out that one
of his rib on the bottom left side of his body was Broken/Fractured. Mr. Davis
again was assaulted by 16 officers (give or take), in processing all because he ask
to make a phone call to his attorney, which is his right to do so, that event was also
unjustified.

68. In addition to physical pain, as a result of Defendants actions, Mr. Davis
was also experiencing extreme and obvious emotional distress, including fear and

humiliation.

7. Citizens of the United States and visitors within the country are guaranteed certain freedoms
and right, which are protected under the constitution as well as other state and federal laws.
theses rights are considered to be part of the very fabric of American ideals.

8. However, what happens when your civil rights are violated? is there recourse to protect you
and your rights, liberties, and the freedom that your entitled to under the law.

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DEFENDANTS LEFT MR. DAVIS

And the floor for over an hour
while unconscious.

69. Security officers left Mr. Davis on the ground in the shu cell #127
unconscious for over an hour.

70. The temperature of that cell was cold- much colder that other cells at
BFDF- and uncomfortable for a person that was just hit in the ‘head after coming
back from an appointment with a neurologist, and finding out about an
Abnormality on his left side of his brain, to be hit on the same side where the
Abnormality is located and was on a cold cell floor for over an hour.

71. Mr. Davis was completely unconscious and his body was laid across the
cell floor, with officers walking by peeking in through the cell door window,
instead of calling for help.

72. The Defendants did not follow protocol. The Defendants were supposed
to take a picture of Mr. Davis face after the injuries that he sustained by the
officers, there were also supposed to call for medical assistance after they notice

that Mr. Davis face was swollen and when they say him on the ground in the shu

cell #127.

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73. At no time during this interaction did the Defendant lieutenant Dysart
attempted to stop officer Faatz from assaulting Mr. Davis.

74, Defendant Faatz throw Mr. Davis on the bed and punched him in the left
side of his head.

75. Mr. Davis arms was pined down by John Doe#3 and was fully restrained
and he had no ability to protect himself from the assault.

76. Mr. Davis screamed at the officers who was assaulting him and ask them
to get off him.

77. Mr Davis experienced tunnel vision and was vomiting and spiting up
blood, while in and out of consciousness.

_ 78. Mr. Davis remained on the grounds in a cold cell in the shu for over one

hours.

79. As a result of the Defendants actions, Mr. Davis experience extreme and

obvious emotional distress, including fear and pain.

9. Members of the government even those whom are contacted by the government are
responsible for serving and protecting our safety, and our rights, in order to fulfill these
responsibilities, service man and woman are granted a certain level of authority.

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MEDICAL PERSONNEL EMPLOYED
At BFDF Bear Responsibility for leaving
Mr. Davis on the floor for over on hour.

80. Mr. Davis summed Defendants A. Johnson a officer who is employed by
AGS, to call for a nurse, officer A. Johnson responded by saying the nurse was
already here.

81. Defendant nurse Wendy, saw Mr. Davis on the ground unconscious and

did nothing to help Mr. Davis.

82. Defendant nurse Wendy observed that Mr. Davis was not moving, with
his left eye swollen with vomit on the floor of shu cell #127.

83. After Mr. Davis woke up, while spiting up blood in the toilet,
Defendants nurse Wendy come over to the shu cell #127 and ask Mr. Davis if his
left arm was ok, although she could clearly see that his other injuries was more
important.

84. The policy of any jail or detention center, requires that medical staff
check any person who was injured by a staff or inmate, to check their breathing

and other vital signs every 15 minutes after being unconscious. .

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85. The applicable standard of care regarding Mr. Davis injuries is for
medical staff to check on his breathing and other vital signs every 15 minutes after
being unconscious for over an hour.

86. Defendants nurse Wendy, in her capacity as a nurse, was task with
monitoring Mr. Davis's physical condition and vital signs after he was knock out
by the officer and was left unconscious.

87. During the period of time that Defendant Wendy was responsible for
monitoring Mr. Davis's physical condition, she did not check on Mr. Davis, she
did not enter the cell to see if he had pulse.

88. No other correctional facility or medical staff member checked on Mr.
Davis to see if he was alive, while unconscious on the cell floor.

89. Defendants Wendy saw the unusual and unjustified actions of the event,

and did nothing to help Mr. Davis while he was on the cell floor unconscious.

10. When a contracted agency who do not hold any kind of law enforcement license, who was
never properly trained or graduated from any academy and have no certificate or was ever license
by the state to be a correctional officer, abuse their authority or engage in any kind of
misconduct, the consequences can be dire. victims of theses kind of misconducts have had their
trust betrayed, civil rights violated, and suffered undue harm, that harm can include physical
injuries, emotional trauma, and even death.

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90. Mr . Davis told Defendant Wendy that officer Faatz had punched him and that
officer John Doe #3 had held him down on the bed while officer Faatz punched
him again. Mr. Davis told nurse Wendy that is why is left eye is swollen and his
lips bleeding.

91. Despite her awareness, that Mr. Davis was being mistreated, Defendant
Wendy did nothing to help Mr. Davis off the floor or otherwise call for help, after
seeing Mr. Davis lying on the floor of the shu cell #127.

92. BFDF policy required that a health care provider obtain a doctor's order
to send Mr. Davis to the hospital, after an assault of that caliber.

93. Defendant Wendy had know that the lieutenant Dysart, officer Faatz and
John Doe #3, presented a threat to Mr. Davis physical safety, because of the
circumstances of him being punch on the left side of his face, where he just had
surgery.

94. Defendant Wendy and the BFDF medical staff did not evaluate, take a
picture of Mr. Davis injuries, or interact with Mr. Davis while he was passed out

on the cell floor.

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MR. DAVIS ASSAULT

Was Unnecessary.Unreasonable,
_and Contrary to BFDF Policy.

95. BFDF policy states that when putting a detainee into a shu cell, the
officer must first lead the detainee inside the cell have the detainee walk to the
bed. The officer would then close the cell door, ask the detainee to walk
backwards to the trap, put his hands through the trap, then the officer will then
take the cuffs off.

96. Either Defendant lieutenant Dysart, officer Faatz or John Doe #3,
followed protocol/ BFDF policy when placing Mr. Davis into the shu cell, they all
went into the cell with Mr. Davis, with the intention to cause Mr. Davis harm, just
because he spoke up about the abuse that he had received at the BFDF to Doctor
Stackhouse.

97. BFDF policy states that a lieutenant must record all physical encounters
by an officer or an inmate, but on March 8, 2024, the lieutenant only started the
video after Mr. Davis was punched in the face, thrown on the bed and was
punched again. You can hear Mr. Davis screaming for his life in the video "YOU
PUNCH ME IN THE FACE GET OFF ME". You can see Mr. Davis fighting them
off him while he was pined down on the bed, with one officer on

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top and the other officer holding him down.

98. BFDF policy prohibits the use of force by any officer and less the
officer's life is in danger. And has you can clearly see in the video the only person
life that was in danger was Mr. Davis.

99. On March 22, 2024, Mr. Davis went on a medical trip to the Clinton
Woods medical center in Rochester, New York to see Doctor Wang, the plastic
surgeon who placed the Titanium Metal in his left side of Mr. Davis face to fix the
damage that was done by the inmate on September 22, 2024.

100. Doctor Wang informed Mr. Davis about the Abnormality on the left
side of his brain and the Hematoma. Doctor Wang also informed Mr. Davis that
they can not do anymore surgery to fix Mr. Davis sunken left eye ball, because of
the risk of a hemorrhage, because of the Hematoma and the Abnormality that is
present in Mr. Davis brain. the Doctor also warned Mr. Davis about the
seriousness of his conduction and told him that he could die, from a serious blow
to the head.

101. On March 10, and the 11th of 2023, a little after 8:30am. P.A Mike
come to see Mr. Davis, because of Mr. Davis hunger strike protest. P.A Mike who
is employed at the BFDF as a Practitioner Assistant read Doctor Stackhouse note
about the visit to her office on March 8, 2024, of Mr. Davis appointment. Doctor

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Stackhouse had informed BFDF about Mr. Davis Hematoma and Abnormality that
showed up on the MRI scan of Mr. Davis brain. P.A Mike told Mr. Davis that
there was nothing in the file marked MRI, he only told Mr. Davis about what was
in his CT scan filed. P.A Mike intentionally keep Mr. Davis from knowing about
the seriousness of his condition.

102. BFDF made no attempts whatsoever to properly inform Mr. Davis
about his health condition or inform him that if he ever fall on the left side of his
head that he can die instantly.

103. BFDF medical staff also had that same information on file, but also

failed to inform Mr. Davis of the seriousness of his health condition.

THE LASTING HARM
Caused to Mr. Davis by Defendants.

104. At the UR Medicine Strong Memorial Hospital Emergency
Department, Mr. Davis was diagnosed with having a broken oval left eye socket,

which needed surgery in order to repair the damage.

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105. Mr. Davis ability to see out of his left eye was significantly.
compromised from what had already happened at the Pike County Correctional
Facility.

106. At BFDF after the damage to Mr. Davis left oval eye socket, which
happened at the BFDF, Mr. Davis eye is now sunk in to the back of his head.

107. As a result from the date of the incident through the present, Mr. Davis
has experienced severe headaches, eye pain and now slow eye movement in this
left eye, including extreme sensitivity to any kind of light and severe migraines
that last all day. Mr. Davis can also pick up on radio frequencies.

108. Mr. Davis has been traumatized because of all the back and back
events.

109. Mr. Davis experiences anxiety spells as a result of Defendants actions.

110. As a result of Defendants assault on December 2, 2023. Mr. Davis as
been experience significant pain in his left shoulder, because of it being dislocated
by the 12 AGS officers.

111. Mr. Davis continues to experience pain and numbness that radiates

from his shoulder to his hand, and down to left leg.

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112. Mr. Davis is unable to sleep on his left side because of the pressure of
his broken ribs, and he experiences pain sufficient to wake him up from his sleep

if he manages to turn on his side while he's sleeping.

DEFENDANTS RETALIATION
Against Mr. Davis.

113. Mr. Davis filed grievance and grievance appeals, in which he describes
the harm that was done to him on September 22, 2023, named Defendants MS-13
gang members who can be seen on camera as the peoples responsible for the harm
that had to suffer.

114. Mr. Davis filed grievance and grievance appeals, in which he
describes the harm that was done to him on October 3, 2023, because of the
negligence of the BFDF.

115. Mr. Davis filed grievance and grievance appeals, in which he
describes the harm that was done to him on November 16, 2023, when you can
clearly see on camera footage the inmate entering his cell on B1 cell #134, to harm

him with a jail made knife.

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116. Mr. Davis filed grievance and grievance appeals, in which he describes
the harm that was done to him on December 2, 2023, where you can see on camera
12 AGS officers entering Mr. Davis cell #116 on unit Al to extract him, causing
him pain after they dislocated his left shoulder and fracturing his rib on his left
side. And after coming back from having his left shoulder put back into place, he
was assaulted again by 16 AGS officers in the processing area, all because he ask
to make a call to his attorney, this you can also see on camera.

117. Mr. Davis filed grievance and grievance appeals, in which he
describes the harm that was done to him on March 8, 2023, named lieutenant
Dysart, officer Faatz and John Doe #3, as the people responsible for the harm he
suffered, and sought relief from the jail for the assault on him in the shu cell #127,
when he was punched in the face twice, was held down and left unconscious on
the floor for over an hour.

118. Throughout September 2023-March 2024, Mr. Davis filed additional
grievances, grievance appeals, and inmate request "forms", in which he stated the
events that happened in September 2023-March 2024 that the officers and

lieutenants did nothing to stop the assault on him.

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119. Mr. Davis states that the BFDF as been retaliating against him for
reporting all of these events to the CRCL, OIG, Detention Reporting Center, and
the ICE Intake Center.

120. The BFDF lieutenants, received and reviewed all of Mr. Davis's
grievances, and most of them never made it back to Mr. Davis's hands.

121. During the 18th + months Mr. Davis has been at the BFDF he had
suffered from not one but multiple concussions, from the inmates and the officers.
The consequence of those blows to the head have giving him a Hematoma and
abnormality of the brain.

122. On March 24,2024, around 5pm officer Fernando was breaking the unit
officer Ferris, Mr. Davis ask officer Fernando if he could call medical for me
because I was feeling light headed and dizzy, Mr. Davis been on a hunger strike
since the day he was assaulted by officer Faatz, Mr Davis was on the eighteenth
day without no food or water. he ask for medical assistant to be called, officer
Fernando called the lieutenant instead, they both started laughing at Mr, Davis.
Mr. Davis again told the officer that he did not feel good and that he felt that he
was about to pass out. Officer Fernando told Mr. Davis that the lieutenants to him

to ignored Mr. Davis a couple minutes later Mr. Davis had passed out on the bed.

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123. On March 28, 2924, Mr. Davis had three legal phone calls, two to an
attorney's office, and one to the Pennsylvania Children and Youth Services (CYS),
all three was denied by the AGS lieutenant and one by unit officer, who worked
the unit on the day and time in question. They told Mr. Davis who showed them
the letter he had received from CYS to show proof that it was in fact a legal call,
but because the case worker voicemail said" YOU KNOW WHO THIS IS LEAVE
A MESSAGE", they denied his legal call, they prevented him from finding out
what was going on with his family. And the two calls to the attorney's office was
denied because the unit officer said so, in violation of his constitution and civil
rights.

124, On March 29, 2024, Mr. Davis had a legal phone call with another
attorney at 10pm, officer Eaton call the number to verify that was in fact a legal
call, when the assistant for the law firm came on the line officer Eaton did not
hand the phone to Mr. Davis, the officer started to give information about Mr.
Davis, After the person on the other end ask to speak with Mr. Davis and did not
get the chance too they hang the phone up, officer Eaton look at Mr. Davis and
walked off.. This event you can also se on the camera footage of that day and time

in question.

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125. On March 29, 2024, at 11:45am or a little after two ICE agent came to
talk to Mr. Davis about the reports of retaliation from the facility, because of all
the reports that Mr. Davis as been sending in. Mr. Davis told them what happed in
shu cell #127 on March 8, 2024, after coming back from his appointment with
Doctor Stackhouse, about how he was assault by the officer and how the lieutenant

just stood there and let it happened.

MR. DAVIS HAS BEEN PLACED IN THE SHU,
A SOLITARY CONFINEMENT UNIT.

126. While in the Segregation Housing Unit (SHU). Mr. Davis lives in a
small cell by himself and was not allowed to communicate with his family.

127. It as been widely acknowledged by the Courts, that correction official,
and other employee's of the government entities, that confinement, especially

when imposed for a prolong periods of time can cause grave psychological harm.

11. Victims of any government contacted employee misconducts or any civil rights violations
may sue under Federal and State law. Anyone acting “under the color of law" who violated your
civil rights while acting in their role as a law enforcement officer, government agent or any other
government contracted employee.

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128. It as also widely acknowledged by the Courts, that Detention Facilities
is not a Correctional facility, and Therefore, should not be run as a Correctional
Facility. A Detention Facility should not have a SHU to house any inmate when
they are label as detainee's. it should not have a contracted service employee
acting and imposing orders, as if they were correctional officers, they do not hold
the same title or authority.

129. For example, in 2017, the U.S. Circuit Courts observed a growing
consensus- with roots going back a century- that [solitary confinement]
conditions.... can cause severe and traumatic psychological damages, including
anxiety, panic attacks, paranoia, depression, post-traumatic stress disorder,
psychosis, and even a disintegration of the basic sense of one's self identity, as
well as physical harm, including suicide and self-mutilation.

130. The only times Mr. Davis was allowed out of his cell while he was in
shu were for occasional visit to the law library, occasional phone to his attorney
when ever they would allowed him to do so, showers, and.to go outside for
recreation, which he was permitted approximately everyday, except for showers.

131. During the time Mr. Davis sent in the shu, he had difficulty focusing or

sleeping, he experienced claustrophobia, and at times felt unable to breathe.

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132. Detention is not meant to be like a jail or any other correctional
facilities, the people that are being housed there are people who has crossed over
our boarders and people who as already severed their time in a criminal federal or
state correctional facility. Therefore, BDFD should not be running it's facility as if
the people there was sentence by a state or federal judge, it is absurd and

unconstitutional and it is against all that this country stands for.

CAUSES OF ACTION

COUNT I
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Excessive Force.

133. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

134. Defendants knowingly and intentionally used force against Mr. Davis,
on September 22, 2023, when they inter alia, attacked Mr. Davis in his cell on unit
B1, when his oval left eye socket was fractured after he was attacked by the MS-
13 Gang members in front of the AGS officer on duty.

135. The Defendants actions and inactions were objectively unreasonable in
the light of facts and circumstances at the time and caused Mr. Davis great harm.

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136. The Defendants are liable for the force they used, for directing others
to use force, and or for failing to intervene to stop others from using excessive

force.

COUNT Il
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Excessive Force.

137. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

138. Defendants knowingly and intentionally used force against Mr. Davis,
on November 16, 2023, when they saw another inmate entering Mr. Davis cell,
notice that he slammed the door behind him, and tried to harm Mr. Davis with a
jail made knife.

139. The Defendants are liable for their role in, inter alia, by failing to
intervene when they notice that someone other than Mr. Davis was entering his
cell, BFDF policy states that no one should be in another persons cell, that is

known as being in an unauthorized area.

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COUNT III
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Excessive Force.

140. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

141. Defendants knowingly and intentionally used force against Mr. Davis,
on December 2, 2023, when they inter alia, entered Mr. Davis cell on unit Al, and
dislocated his shoulder and fractured his bottom left rib, and again attacked Mr.
Davis after coming back from the hospital in the processing area of the facility, all
because he ask to make a legal phone call to his attorney.

142. The Defendants actions and inactions were objectively unreasonable in

the light of facts and circumstances at the time and caused Mr. Davis great harm.

COUNT IV
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Excessive Force.

143. The allegations set forth in each of the preceding paragraphs are

incorporated herein by reference.

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144, Defendants knowingly and intentionally used force against Mr. Davis,
on March 8, 2024, when they inter alia, punch him in the face twice, pined him on
the bed, exit the cell and left him unconscious for over an hour, after coming back
from a medical trip.

145. The Defendants actions and inactions were objectively unreasonable in
the light of facts and circumstances at the time and caused Mr. Davis great harm.

146. The Defendants are liable for the force they used, for directing others
to use force, and or for failing to intervene to stop others from using excessive

force.

COUNT V
42 U.S.C. § 1983: FOURTEENTH AMENDMENT

Cruel, Unconstitutional Punishment and unconstitutional confinement.

147. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

148. As an immigration detainee, Mr. Davis has a right to be free from

punishment.

12. What gives AGS the right to assault someone and caused them bodily harm, do they think
that because their not label as an American citizen they have no civil or constructional rights.

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150. The events that lead to Mr. Davis being assaulted and harm, those
assaults was objectively unreasonable in the light of the facts and circumstances at
the time and caused him great harm.

151. The Defendants are liable for their roles in, inter alia, by authorizing or
directing others to harm and or failing to intervene.

152. The defendant's confinement of Mr. Davis in the shu was not rationally
related to any legitimate non-punitive government purpose.

153. In the alternative, to the extent Defendant's confinement of Mr. Davis
in the shu cell #127, bore some rational relationship to legitimate non- punitive
government purpose, it was excessive in the light of that purpose.

154. By placing Mr. Davis in shu cell #127, without any real justification,
Defendants subjected Mr. Davis to conditions that exposed him to a substantial
risk of serious harm and/or deprived him of the. minimal civilized measures of
life's necessities.

155. The risk of harm to Mr. Davis was obvious, and Defendants were
deliberately indifferent to this risk.

156. The Defendants are liable for their roles in, inter alia, by authorizing or

directing others to harm and or failing to intervene to stop Mr. Davis suffering.

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COUNT VI
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Excessive Force.

157. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

158. Defendants knowingly and intentionally used force against Mr. Davis,
on September 22, 2023, through March 8, 2024, when they assault him while he
was in the cell on B1, Al, Processing Area and in the Shu. .

159. The Defendants actions and inactions were objectively unreasonable in
the light of facts and circumstances at the time and caused Mr. Davis great harm.

160. All of the Defendants are liable for the force they used, for directing
others to use force, and or for failing to intervene to stop others from using

excessive force.

COUNT VII
42 U.S.C. § 1983: FOURTEENTH AMENDMENT

Equal Protection.

161. The allegations set forth in each of the preceding paragraphs are

incorporated herein by reference.

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162. As evidenced by, inter alia, the actions of the inmates, officer and their
co-workers use of force, and failure to intervene, Defendants acts and omissions,
as described above, were motivated by Mr. Davis actions against the Defendants,
because he keeps reporting to the CRCL, OIG, ODIO, Doctor Stackhouse, Doctor
Wang and the ICE Intake Center, everything unlawful and illegal thing that goes
on in the facility.

163. Defendants thereby deprived Mr. Davis of his right to equal protection

guaranteed by the Fourteenth Amendment.

COUNT VIII
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Retaliation.
164. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.
165. Mr. Davis engaged in protected first amendment activity when he

requested the presence of his Deportation Officer Mr. Brant an ICE officer and

made other oral complaints about how he was being treated.

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166. The lieutenants all took adverse action against Mr. Davis when they
falsely claimed that he assaulted the two officers, while he was pined down by
these two officers, knowing this would cause him to be subjected to harsh
conditions, including, inter alia, when placed in confinement away from keeping
in touch with his wife and kids without justification.

167. Mr. Davis protected activity was a substantial or motivating factor in

Defendants decisions to take adverse actions against him.

COUNT IX
42 U.S.C. § 1983: FOURTEENTH AMENDMENT
Retaliation.
168. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.
169. Mr. Davis engaged in protected first amendment activity when he filed
grievances, grievance appeal, request forms, and filed an ODIO, OIG, and CRCL
complaints.

170. The lieutenants at the BFDF took adverse actions against Mr. Davis,

when they filed disciplinary charges against Mr. Davis and encouraged others

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officers to filed disciplinary charges against him, which lead up to 73 days
placement in solitary confinement.

171. Defendant Faatz took adverse action against Mr. Davis, when he failed
disciplinary misconduct charges against Mr. Davis after he assaulted him, which
lead up his continued placement in solitary confinement.

172. Mr. Davis protected activity was a substantial or motivating factor in

Defendants decisions to take adverse actions against him.

COUNT X
Assault and Battery Under New York Law.

173. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

174, On September 22, 2023, a detainee and a AGS officer intentionally put
Mr. Davis in reasonable and immediate fear of harmful and offensive contact
when the detainee (inmate) intentionally touched him in a harmful and offensive
manner without his consent when he, inter alia, broke Mr. Davis oval left eye

socket, while the AGS officer watch has a group of detainee's gathered in front of

13. AGS is contracted by DHS/ICE to maintain the safety and to protect the detainees from
harming themselves or others, and to also ensure the order of the facility. they were never

contracted to abuse or even to harm the detainees that they pledged to protect.
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the cell door, while Mr. Davis was being beating halfway to death. these actions
constituted Assault, Battery and Negligence under New York law.

175. In assaulting and battering Mr. Davis, the defendants engaged in a
willful misconduct, their actions were neither authorized nor required by law, nor
could they have in good faith believed otherwise, they acted maliciously towards

Mr. Davis for the purpose of injuring him.

COUNT XI
Assault and Battery Under New York Law.

176. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

177. On November 16, 2023, the Defendants intentionally put Mr. Davis in
reasonable and immediate fear of harmful and offensive contact when the detainee
(inmate) intentionally touched him in a harmful and offensive manner without his
consent when he, entered Mr. Davis cell while on B1 with a jail made knife, to
harm him while the AGS officer on duty, knowing that was not a BFDF policy for
someone to be in another person cell. These actions constituted Assault, Battery

and Negligence under New York law.

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178. In assaulting and battering Mr. Davis, the defendants engaged in a
willful misconduct, their actions were neither authorized nor required by law, nor
could they have in good faith believed otherwise, they acted maliciously towards

Mr. Davis for the purpose of injuring him.

COUNT XII
Assault and Battery Under New York Law.

179. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

180. On December 2, 2023, the Defendants intentionally put Mr. Davis in
reasonable and immediate fear of harmful and offensive contact when the AGS
officer intentionally touched him in a harmful and offensive manner without his
consent when they dislocated Mr. Davis left shoulder and fractured his rib on the
left side of his body. These actions constituted Assault, Battery and Negligence

under New York law.

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181. In assaulting and battering Mr. Davis, the defendants engaged in a
willful misconduct, their actions were neither authorized nor required by law, nor
could they have in good faith believed otherwise, they acted maliciously towards

Mr. Davis for the purpose of injuring him.

COUNT XIII
Assault and Battery Under New York Law.

181. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

182. On March 8, 2024, the Defendants intentionally put Mr. Davis in
reasonable and immediate fear of harmful and offensive contact when the AGS
officer intentionally touched him in a harmful and offensive manner without his
consent when he got on the left of his face twice while John Doe #3 held him
down on the bed in shu cell #127. These actions constituted Assault, Battery and
Negligence under New York law.

183. In assaulting and battering Mr. Davis, the defendants engaged in a
willful misconduct, their actions were neither authorized nor required by law, nor

could they have in good faith believed otherwise, they acted maliciously towards

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Mr. Davis for the purpose of injuring him.

COUNT XIV
Intentional Infliction of Emotional Distress
Under New York Law

184. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

185. The Defendants intention and reckless conduct on September 22, 2023,
November 16, 2023, December 2, 2023, and March 8, 2024, including but not
limited to their use of force against Mr. Davis and involvement in his assault, were
outrageous in character and so extreme in degree as to go beyond the bonds of
decency and to be regarded as utterly intolerable in civilized society.

186. Defendants engaged in willful misconduct. Their actions were neither
authorized nor required by law, nor could they have in good faith believed
otherwise. They acted maliciously towards Mr. Davis for the purpose of injuring

him.

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COUNT XV
Professional Negligence and Vicarious Liability Under New York Law:
Plaintiff v. Defendants
Nurse Wendy, P.A Mike and BFDF Medical Staff.

187. The allegations set forth in each of the preceding paragraphs are
incorporated herein by reference.

188. At all times relevant, the individual Defendants had a duty to act in
accordance with the standard of care required of medical professionals and to act
as a reasonable person would under the same or similar circumstances.

189. Defendant (P.A) Mike breached his duty as a practitioner assistant
through his acts and omissions before and during Mr. Davis check ups by, inter
alia, (a) keeping vital information about his health from him, (b) failing to record
in his medical records about Mr. Davis injuries after officer Faatz and John Doe #
3 assaulted him, (c) failure to take a picture of Mr. Davis injuries, (d) failing to
responded to the obvious distress Mr. Davis was in, and (e) failing to adequately
communicate with Mr. Davis about the notes that was sent by the neurologist

Doctor Stackhouse and Doctor Wang about his medical conditions.

14. BFDF carries a lot of animosity towards Mr. Davis and it's been proven, throughout this
complaint, you can tell by looking at the facts, they did nothing to the detainees who broke the
bones in his face, they did nothing to the detainee who tried to stab him in his cell, and they did
nothing to the officers who assaulted Mr. Davis, they could careless about his medical
conditions.

(49)
Case 1:24-cv-00318-LJV Document 1 Filed 04/09/24 Page 51 of 55

190. As a result of the Defendants act and omissions, Mr. Davis experienced
physical, emotional, and psychological harm.
200. Defendants BFDF Medical staff, is vicariously liable for the negligence

of it's employees, Defendant nurse Wendy and P.A Mike.

(50)
Case 1:24-cv-00318-LJV Document1 Filed 04/09/24 Page 52 of 55

REQUESTED RELIEF

Wherefore, plaintiff Damion Davis respectfully requests that the Court grant the
following relief:

A. An award of compensatory and punitive damages against all Defendants in an
amount to be determined by the finder of facts;

B. A award of nominal damages on any claim on which no compensatory damages
are awarded;

C. Reasonable attorney's fees and costs;

D. Such other relief the Court deems just and proper.

JURY DEMAND

Plaintiff request a trial by jury with respect to all matters and issues properly
triable by jury.

Respectfully Submitted

Signatere:
Dom tA Darts

Print:

H-3-20 24

Dated:

(51)
Case 1:24-cv-00318-LJV Document 1 Filed 04/09/24 Page 53 of 55

VERIFICATION

I Damion Davis, being duly sworn Under the penalties of perjury, that the statement in the

above is correct to the best of my knowledge, information and belief. I understand that false

statement herein are subject to penalties of the law relating to unsworn falsification to authorities.

Dated: K-3 “24H

SWORN BEFORE ME

on this? day ot Abr! 20.24

|

NOTARY PUBLIC

AaronA, Stahl
Notary Public, Stzite of New York
Reg. No. O18T0013537
im Ofteans County
Commission Expves September 14. 297°

(52)
JS 44 (Rev. 08/18)

The JS 44 civil cover sheet and the information contained herein neither replace nor cuppletnient the Bing and service of pleadings or other paper:
provided by local rules of court. This form, approved by the Judicial Conference of the United States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Case Bev 008 18 ONE COVER SHEET 2A 0 age" PINT

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lerk of Court for the

I. (a) PLAINTIFFS

“Damion GW Davis

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:

Attorneys (If Known)

AN ino. lola Services 2+ al

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only)

© 1 U.S. Government
Plaintiff
2. U.S. Government

Defendant

3 Federal Question

(U.S. Government Not a Party)

O04 Diversity

(Indicate Citizenship of Parties in Item HI)

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "x" in One Box for Plainuff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State 01 G1 Incorporated er Principal Place o 4 go4
of Business In This State
Citizen of Another State O 2 OF 2 Incorporated and Principal Place O35 O85
of Business In Another State
Citizen or Subject of a Gi 3 O 3. Foreign Nation o6 O86

Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Only)

Click here for: Nature o

f Suit Code Descriptions.
OTHER STATUTES ]

L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
0 110 Insurance PERSONAL INJURY PERSONAL INJURY =| 625 Drug Related Seizure 422 Appeal 28 USC 158 © 375 False Claims Act
0 120 Marine © 310 Airplane O 365 Personal Injury - of Property 21 USC 881 [9 423 Withdrawal 4 376 Qui Tam (31 USC
6 130 Miller Act 6 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 1 367 Health Care/ © 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OF 820 Copyrights O 430 Banks and Banking
O 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent © 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application © 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability G1 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. O 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards © 861 HIA (1395ff) O 485 Telephone Consumer
O 160 Stockholders’ Suits © 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
O 190 Other Contract Product Liability O 380 Other Personal © 720 Labor/Management CO 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XVI © 850 Securities‘Commodities’
0 196 Franchise Injury 0 385 Property Damage 740 Railway Labor Act © 865 RSI (405(g)) Exchange
0) 362 Personal Injury - Product Liability © 751 Family and Medical 1 890 Other Statutory Actions
Medical Malpractice Leave Act © 891 Agricultural Acts
[ REAL PROPERTY, CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS © 893 Environmental Matters
© 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement O 870 Taxes (U.S, Plaintiff © 895 Freedom of Information
O 220 Foreclosure 0 441 Voting 463 Alien Detainee Income Security Act or Defendant) Act
© 230 Rent Lease & Ejectment 0 442 Employment 510 Motions to Vacate O 871 IRS—Third Party 896 Arbitration

© 240 Torts to Land
© 245 Tort Product Liability
© 290 All Other Real Property

© 443 Housing/
Accommodations

© 445 Amer. w/Disabilities -
Employment

O 446 Amer. w/Disabilities -
Other

O 448 Education

Sentence
530 General
535 Death Penalty
Other:
540 Mandamus & Other
550 Civil Rights
555 Prison Condition
560 Civil Detainee -
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Actions

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899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X" in One Box Only)

x 1 Original
Proceeding

2 Removed from
State Court

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Remanded from o4

Appellate Court

Reinstated or
Reopened

O 5 Transferred from
Another District
(specify)

0 6 Multidistri
Litigation
Transfer

ct

O 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:

VIL REQUESTED IN

COMPLAINT:

O CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

O Yes ONo

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DATE

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

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